Case 3:19-cv-00889-REP Document 3 Filed 12/03/19 Page 1 of 2 PageID# 51



                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division


DEVIN G. NUNES                                )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )                  Case No. 3:19-cv-889
                                              )
                                              )
CABLE NEWS NETWORK, INC.                      )
                                              )
       Defendant.                             )
                                              )


     FINANCIAL INTEREST DISCLOSURE STATEMENT
       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Local Civil Rule

7.1(A)(1) of the United States District Court for the Eastern District of Virginia and to

enable Judges and Magistrate Judges to evaluate possible disqualification or recusal, the

undersigned counsel for Plaintiff, Devin G. Nunes, in the above captioned action,

certifies that there are no parents, trusts, subsidiaries and/or affiliates of said party that

have issued shares or debt securities to the public.



DATED:         December 3, 2019




                                              1
Case 3:19-cv-00889-REP Document 3 Filed 12/03/19 Page 2 of 2 PageID# 52



                       DEVIN G. NUNES



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